13/2021 Case 1:21-cv-02244-JMS-MG Document 1sdmnfaiedh 2443/21 Page 1 of 24 PagelD #: 6

This is not the official court record. Official records of court proceedings may only be obtained directly from
the court maintaining a particular record,

Ariana Ware v. City of Indianapolis/Indianapolis Metropolitan PoliceDepartment.

Case Number 49D06-2107-CT-023665
Court Marion Superior Court 6
Type CT - Civil Tort
Filed 07/14/2021
Status 07/14/2021 , Pending {active)
PartiestotheCase
Defendant City of indianapolis/Indianapolis Metropolitan Police Department
Address
200 E. Washington Street
Suite 1601
indianapolis, IN 46204
Attorney
Allison J Smith

#3536649, Lead, Retained

200 E. Washington St.
Suite 1601
Indianapolis, IN 46204
317-327-4055(W)

Attorney
Elise Christine Louise Bowling

#3393345, Retained

Office of Corporation Counsel
200 E, Washington St., Suite 1601
Indianapolis, IN 46204
317-327-4055(W)

Plaintiff Ware, Ariana
Address
306 E. Fall Creek Pwy. N. Dr.

Suite 501
Indianapolis, IN 46205

Attorney
Robert Bandel Turner

#228849, Retained

julia Carson Governmnt Center

300 East Fall Creek Parkway Blvd, North Dr.
Suite 501

Indianapolis, IN 46205

317-295-2400(W)

Chronological Case Summary

https://public.courts.in.govimycase#vw/CaseSummary/eyJ2ip7kNhe2VUb2ubii6IKNGQXEzNzU4a25PctJxU2libkhlaGc5T3ZVeGxqUuadiYTVMbENIR... 1/3
8/13/2021

Case 1:21-cv-02244-JMS-MG Document 1s@maedyeg4d3/21

07/14/2021 Case Opened as a New Filing

07/14/2021 Appearance Filed

Appearance

For Party: Ware, Ariana

File Stamp: 07/14/2021
07/14/2021 Complaint/Equivalent Pleading Filed

Complaint.pdf
Exhibits 1 & 2.pdf

Complaint

Filed By: Ware, Ariana

File Stamp: 07/14/2021
07/14/2021 Subpoena/Summons Filed

Summons

Filed By: Ware, Ariana

File Stamp: 07/14/2021
08/05/2021 Appearance Filed

Appearance

For Party: City of Indianapolis/indianapolis Metropolitan Police Department

File Stamp: 68/05/2021
08/05/2021 Notice Filed

Automatic Extension Of Time

Filed By: City of Indianapolis/Indianapolis Metropolitan Police Department

File Stamp: 08/05/2021
08/05/2021 Notice Filed

Notice of Automatic Enlargement of Time

Filed By:
File Stamp:

Financial Information

City of indianapolis/tndianapolis Metropolitan Police Department

08/05/2021

Page 2 of 24 PagelD #: 7

* Financial Balances reflected are current representations of transactions processed by the Clerk's Office. Please note that any

balance due does not reflect interest that has accrued - if applicable - since the last payment. For questions/concerns regarding

balances shown, please contact the Clerk's

Ware, Ariana
Plaindff

Balance Due (as of 08/13/2021)

Office.

 

 

 

 

 

 

 

 

 

 

0.00
Charge Summary
Description Amount Credit Payment
Court Costs and Filing Fees 157.00 6,00 157.00
Transaction Summary
Date Description Amount
07/14/2021 Transaction Assessment 157.00
07/14/2021 Electronic Payment (157.00)

 

 

 

 

 

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2/3
aiig20n1 Case 1:21-cv-02244-JMS-MG Document 1 SeimnhaleGuj824 3/21 Page 3 of 24 Page|D #. 8

“This i is s not the official court record. Official records of court proceedings may only be obtained directly from
the court maintaining a particular record.

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Case 1:21-cv-02244-JMS-MG apgasioz2cT0eg66513/21 Page 4 of 24 Pagerilea/ty2021 12:43 Ph
: Cleri
Marion Superior Court 6 Marion County, Indian

STATE OF INDIANA ) IN THE MARION COUNTY SUPERIOR COURT
) SS: CIVIL DIVISION:
COUNTY OF MARION _) CAUSE NO:

ARIANA WARE, )
)
Plaintiff, )
)
VS. )
)
CITY OF INDIANAPOLIS,
INDIANAPOLIS METROPOLITAN
POLICE DEPARTMENT
Defendants,
APPEARANCE

The undersigned attorney now appears in this case for the following party
member(s): Plaintiff: Ariana Ware

Attorney information for service as required by Trial Rule 5 (B) (2), 3.1 and

77(B).
Name: Robert B. Turner Attorney Number: 2288-49
Address: 300 East Fall Creek Pwy. N. Dr. Telephone: (317)295-2400

Suite 501
Indianapolis, Indiana 46205

rbtatty@aol.com
Type: Civil Tort
Fax Service: (317) E-Fax 844.628.7810
There are related cases: Yes = No_X__
This form has been served on all parties. Yes_x_ No
Additional information required by local rule:

{s{Robert B. Turner

Robert B. Turner

Attorney at Law

300 East Fali Creek Pwy. N. Dr.
Suite 501

Indianapolis, Indiana 46205

rbtatty@aol.com
Case 1:21-cv-02244-JMS-MG Dpgpee24o?-cTle2s6e$3/21 Page 5 of 24 Page Fier: 7m1@/2021 12:43 Ph
Cleri

Marion Superior Court 6 Marion County, Indian:

STATE OF INDIANA ) IN THE MARION COUNTY SUPERIOR COURT
) SS: CIVIL DIVISION, ROOM NO:

COUNTY OF MARION ) CAUSE NO:
ARIANA WARE, )

)

Plaintiff, )

)
vs. )

)
CITY OF INDIANAPOLIS,
INDIANAPOLIS METROPOLITAN
POLICE DEPARTMENT
Defendants,

COMPLAINT FOR DAMAGES

 

Plaintiff, ARIANA WARE, by Counsel, and for a cause of action against the Defendants,
City of Indianapolis, INDIANAPOLIS METROPOLITAN POLICE DEPARTMENT, alleges and
states:
1. JURISDICTIONAL STATEMENT
1. Plaintiff, Ariana Ware, by counsel, commences this civil action seeking injunctive
relief, restitution, civil penalties and damages pursuant to Indiana Code Section:
3413-3, Indiana Constitution, Article 1, Section 1; 8; 9 and 16, and the United

States Constitution, First, Fourth, Fifth and Fourteenth Amendments.

Il, PARTIES
2. That Plaintiff, ARLANA WARE, at all times relevant and material to this action,
resided in Indianapolis, Marion County, Indiana.
3. That Defendant, INDIANAPOLIS METROPOLITAN POLICE DEPARTMENT,

at all times relevant and material to this action, was a LAW ENFORCEMENT AGENCY within
Case 1:21-cv-02244-JMS-MG Document 1-2 Filed 08/13/21 Page 6 of 24 PagelD #: 11

the Consolidated City of Indianapolis, with its principle place of business at 200 E. Washington
Street, City County Building, Indianapolis, Marion County, Indiana 46204.
UL FACTS
4. On or about December 18, 2017, Plaintiff ARIANA WARE, herein “WARE”, was
hired as a probationary police officer by Defendant, INDIANAPOLIS
METROPOLITAN POLICE DEPARTMENT, herein, “IMPD”.

5. Plaintiff WARE, completed her academy training on or about November 16, 2018, and

her FTO Traming in June 2018.

6. Plaintiff WARE, was placed on maternity leave on or about March 4, 2019.

7. Plaintiff WARE was on light duty and/or maternity leave until approximately March
2020. During the light duty assignments of Plaintiff WARE, she was assigned to work in
several areas of IMPD such as Community Resources, Training Academy, RMS and
Body Camera Radiation Programs.

8. The areas in which Plaintiff WARE was assigned while on light duty were also staffed
by regularly assigned police officers who were not on light duty assignment.

9, In 2020, Plaintiff WARE, posted a social media message on Facebook as a private
individual and in civilian clothing wherein she quoted a music video titled “Nappy” by
“Kyro the Artist” which relates to professional/successful persons with “nappy hair” who
are proud of their heritage including their “Nappy Hair”.

10. The music video by Kyro the Artist had an IMPD police vehicle in the music video,
but the music video had absolutely no relationship to the Facebook social media posting

by Plaintiff WARE.
Case 1:21-cv-02244-JMS-MG Document 1-2 Filed 08/13/21 Page 7 of 24 PagelD #: 12

11. The police vehicle displayed by Kyro the Artist in the music video was not provided
by or occupied by Plaintiff WARE.

12. Notwithstanding the above, Plaintiff WARE was disciplined by Defendant IMPD for
the private social media post wherein she quoted the song “Nappy by Kyro the Artist”
which related her personal pride about her heritage including her “hair”.

13. Plaintiff WARE, was targeted and under the surveillance of Defendant IMPD since
the social media Facebook posting. |

14. Defendant IMPD alleged that Plaintiff WARE was in the rap music video [Nappy]
rapping while displaying her police vehicle.

15. Plaintiff WARE was not in the rap music video titled “Nappy”, and she did not create
or assist Kyro the Artist in the creation of the rap music or video.

16. On or about September 28, 2020, Plaintiff WARE, was on duty and conducting patrol
duties on her assigned district when she was approached by an unidentified white/female
later identified as an undercover federal agent.

17. The undercover federal agent, in an effort to entrap Plaintiff, falsely informed
Plaintiff WARE, that “she had found a backpack near a trash dumpster and it had money
and other stuff in it”,

18. Plaintiff WARE, accepted the backpack from the unidentified white/female and the
female abruptly walked away without providing any of her identifying information.

19. Plaintiff WARE immediately stopped the unidentified white/female, by stating “hold
on, I need to get your information for the police report”.

20. The unidentified white/female responded “I do not want to get involved”, and she

walked away.
Case 1:21-cv-02244-JMS-MG Document 1-2 Filed 08/13/21 Page 8 of 24 PagelD #: 13

9. Plaintiff WARE looked inside the mysteriously found backpack, which contained

$ 700.00 dollars in cash, an unknown substance and soiled clothing.

22, Plaintiff WARE discussed the incident regarding the “unidentified white/female and
the mysteriously found backpack and its contents with other IMPD patrol officers.

23. The other IMPD patrol officers recommended that Plaintiff WARE toss the unknown
substance found in the backpack and that she turn in the money to the property room.
24. Plaintiff WARE, gave the unknown substance to one IMPD officer to be discarded.
25. Plaintiff WARE discarded the backpack and soiled clothing fearing Covid-19
contamination.

26. Plaintiff WARE placed the $ 700.00 Dollars (cash) in a pouch that she keeps in her
police vehicle until she could deliver it to the property room.

27. Plaintiff Ware did not take the $ 700.00 Dollars (cash) to the Property Room
immediately because she was involved in other IMPD duties, which is consistent with
Defendant IMPD’s customs and practices.

28. On September 29, 2020, the very next day, Defendant IMPD, executed a search
warrants for Plaintiff's residence and her assigned police vehicle.

29. Defendant IMPD lacked probable cause to search Plaintiff WARE’s residence.

30. The search of Plaintiff WARE’s residence was highly intrusive and an invasion of her
privacy.

31. Defendant IMPD executed the search warrants less than 24 hours after Plaintiff
WARE came into contact with the unidentified white/female, later identified as

undercover federal agent.
Case 1:21-cv-02244-JMS-MG Document 1-2 Filed 08/13/21 Page 9 of 24 PagelD #: 14

32. Defendant IMPD’s conduct in the execution of the search warrant in less than 24
hours was totally inconsistent with IMPD’s normal customs and practices in dealing with
officers who delayed delivering and submitting property to the property reom.

33. Upon execution of the search warrant at Plaintiff WARR’s residence and assigned
police vehicle, Defendant IMPD seized the $ 700.00 (cash) which was still located in
Plaintiff WARE’s police vehicle in a pouch where she stores evidence/property.

34. Plaintiff, WARE, was placed on Administrative Leave by the chief of police on
October 29, 2020.

35. Plaintiff WARE, was ordered by inter-department communication to appear for
further investigation and interview in the office of Internal Affairs on November 11,
2020, under threat of further discipline.

36. Plaintiff Ware appeared for the Internal Affairs interview on November 11, 2020, as
ordered. Exhibit No: 1.

37, Plaintiff, WARE, had the right to an Appeal Hearing before the Police Merit Board to
appeal any recommended discipline, including recommended termination by the chief of
police pursuant to IMPD Rules and Regulations.

38. Plaintiff WARE was awaiting notice of the scheduling of a Merit Board Hearing in
order to exercise her rights of appeal.

39, On November 17, 2020, which was six (6) days after her ordered appearance to give a
statement to the Office of Internal Affairs, Plaintiff WARE received a retro-active letter
of termination from the chief of police notifying her that she was terminated “effective

November 2, 2020, which was nine (9) days prior to the date that the chief of police had
Case 1:21-cv-02244-JMS-MG Document 1-2 Filed 08/13/21 Page 10 of 24 PagelD #: 15

ordered her to appear and to give a statement to the Office of Internal Affairs under threat
of discipline.

AQ. Defendant IMPD’s November 17, 2020, letter to Plaintiff WARE informed her that
she was not entitled to an Appeal Hearing before the Police Merit Board, stating “ it has
come to our attention that you did not complete your probationary year with the
Department”...”accordingly discipline lies solely within the discretion of the chief of
police. Your employment was terminated November 2, 2020, for reasons stated in the
Notice of Discharge Order”. Exhibit No: 2.

41. The actions of Defendant IMPD in denying Plaintiff WARE an Appeal Hearing
before the Police Merit Board was wrongful, malicious, intentional, discriminatory, a
violation of her due process rights, a violation of her rights of equal protection and
contrary to the rules, regulations, practices and customs of Defendant, IMPD.

42. The wrongful actions of Defendant IMPD in denying Plaintiff WARE her right to an
Appeal Hearing before the Police Merit Board were illusionary and pretentious.

43. Defendant IMPD acted and conspired to deny Plaintiff, WARE, full credit for her
time in service as an IMPD Officer.

44, Defendant IMPD denied Plaintiff WARE full credit for her time in service when she
was on light duty even though she served in full duty capacity assignments.

45. IMPD Officers who were assigned to the same positions as Plaintiff WARE, but as
full duty assignments received full duty service credit.

46. The other IMPD Officers and Plaintiff WARE performed the same duties under their

assignments even though Plaintiff WARE was supposed to be on light duty.
Case 1:21-cv-02244-JMS-MG Document 1-2 Filed 08/13/21 Page 11 of 24 PagelD #: 16

47, Plaintiff WARE, at all times, was ultimately performing the duties of a full duty
police officer.
48, Defendant IMPD retroactively gave Plaintiff WARE less credit time than other
similarly situated police officers.
49, Defendant IMPD discriminated against and denied Plaintiff WARE her full service
credit in order to deny her an Appeal Hearing before the Police Merit Board.
50. Defendant IMPD’s actions of conspiracy, entrapment, discrimination and disparate
treatment were intentional, malicious and wrongful.
51. Due to Defendant IMPD’s conduct, Plaintiff WARE has suffered loss of employment,
damage to her professional reputation and emotional damages.
52. Defendant IMPD’s wrongful actions demand an injunction, compensatory damages
and punitive damages in favor of Plaintiff WARE.
FIRST AMENDMENT VIOLATIONS

Plaintiff WARE, was exercising her First Amendment Rights of free speech and
expression and was acting as a private citizen when she publicized her social media post
about “nappy hair”. Plaintiff's speech was political in nature and was a popular comment
on a matter of public concern. Defendant City of Indianapolis; Indianapolis Metropolitan
Police Department had no valid reason to restrain, control or regulate Plaintiff's freedom
of expression via social media in her capacity as a private citizen.

FOURTH AMENDMENT VIOLATIONS
Defendant, City of Indianapolis/IMPD, violated the Fourth Amendment Rights of
Plaintiff WARE, when it executed a search warrant on the private residence of Plaintiff

WARE, without any supporting evidence or supporting particularized facts that would
Case 1:21-cv-02244-JMS-MG Document 1-2 Filed 08/13/21 Page 12 of 24 PagelD #: 17

cause an objective person to believe that Defendant IMPD had any reason to believe that
the property/items sought via the search warrant may be found within the premises of
Plaintiff's private residence.

FIFTH AMENDMENT VIOLATION
The Fifth Amendment Rights of Plaintiff WARE, were violated by Defendant, City of
Indianapolis/IMPD, when Defendant IMPD ordered Plaintiff WARE to appear for a
November 11, 2020, interview at the Office of Internal Affairs under threat of discipline.
The November 11, 2020, interview was related to matters of the criminal entrapment
initiated by Defendant IMPD via its undercover agent, said Internal Affairs Interview was

conducted after the alleged November 2, 2020, termination of Plamtiff WARE.

FOURTEEN AMENDMENT VIOLATION
Defendant, City of Indianapolis/IMPD, violated Plaintiff's privileges and/or immunities
as a citizen of the United States when it denied Plaintiff WARE, Equal Protection, when
Plaintiff WARE, a pregnant member of the Indianapolis Metropolitan Police Department,
was denied the same full service credit as non-pregnant members of the Department
obtained while servicing in the very same job positions and performing the very same job
activities.

DUE PROCESS VIOLATION

Defendant, City of Indianapolis/Indianapolis Metro Police Department, violated the Due
Process Rights of Plaintiff WARE, when it denied Plaintiff WARE procedural due
process by terminating Plaintiff WARE without affording her the opportunity to appeal

the termination decision of the chief of police to the Police Merit Board for its review as
Case 1:21-cv-02244-JMS-MG Document 1-2 Filed 08/13/21 Page 13 of 24 PagelD #: 18

required by the applicable laws, codes, policies, niles and customs of the Indianapolis

Metro Police Department.

WHEREFORE, Plaintiff, Ariana Ware, by Counsel, respectfully requests that the Court
enter an Order of judgment for the Plaintiff, award monetary damages in an amount
commensurate with her damages, costs of this action, prejudgment interest, post judgment

interest, punitive damages, injunction and all other just and proper relief within the premises.
Respectfully submitted,

/s/ Robert B. Turner
Robert B. Turner #2288-49
Attorney for Plaintiff

Robert B. Turner

TURNER LEGAL LLC

300 E. Fall Creek Pwy. N. Dr.

Suite 501

Indianapolis, IN 46205

(317) 295.2400 phone

rbtatty@aolLcom
Case 1:21-cv-02244-JMS-MG Dggiy06%2 107-07
Marion Superior Court Ex \.

INDIANAPOLIS METROPOLITAN POLICE DEPARTMENT
INTER-DEPARTMENT COMMUNICAT ION

 
  

2:43 Ph
Cleri
Marion County, Indian.

To: Officer Ariana Ware Date: October 29, 2020

 

 

From: Sergeant Brent Miller

 

Subject: Internal Affairs Investigation

 

This is official notification you are the subject of an Indianapolis Metropolitan Police

Department Internal Affairs investigation.

You are hereby ordered to report to the OFFICE OF IN'LERNAL ABFAIRS, 4134 N. Keystone

Ave, suite A, on November 11, 2020-at' 1100 hours to be interviewed regarding. this investigation.

Pursuant to the Police Officers’ Bill of Rights, Section 4, Subsection J, officers have the right to
the presence of an attorney or a representative of their choice-from within the department during the
interview whenever such interview relates to the officer's continued fitness for law enforcement duty.

‘The-attorney-or representative shall not participate in the interview except to advise the police officer.

If extenuating circumstances prevent your appearance you must notify Detective George June of
the Office of Internal Affairs at 317-327-2034. Failure to comply with this order. may resull in

disciplinary action being taken.

  

Signature “Sete

 

_IMPD Form No, 3-5-49 R6 (MSW) Rank Sergeant _ Ident. No. X4510
Case 1:21-cv-02244-JMS-MG Document 1-2

Randal P. ‘Taylor Indianapolis Metropolitan
Chief of Police Police Department
50 North Alabama Street Folice Departm:

Indianapolis, IN 46204. City of Indianapolis

 

 

Robert Turney, Esq.
333 N Alabama St Suite 350-325
Indianapolis, IN 46204

VIA EMAIL ONLY TO rbtatty@aol.com
November 17, 2020
Dear Mr. Turner:

It has come to our attention that your client, Ariana Ware, did not complete her
probationary year with the Departmetit as required by Section 279- 2B4(c) of the Revised Code
of the Consolidated City and County. Under that, section:

All members appointed to the department under this chapter are on probation
until after one (1) year of active duty from. the date of the completion of the
Field Training Officer Program. Active duty is defined as the time the
probationary officer is assigned to perform the full duties and responsibilities
required of members of the: department, but does not include leave time due to
iliness, military leave, suspension from work or limited duty status, as these
terms are defined by the general orders of the department.

Because of leave Ms. Ware took while in the FTO program and her placement on
administrative leave on September 30, 2020, she is still a probationary | officer.

Accordingly, Ms; Ware’s discipline lies solely within the discretion of the Chief of
Police. Her employment was terminated effective November 2, 2020, for the reasons stated in
the Notice of Discharge Order, The Chief's decision is not subject to review by the Merit
Board.

Sincerely,

Daniel Bowman
Legal Advisor, IMPD

 
 
 
 
Case 1:21-cv-02244-JMS-MG Dg@gpye6tt4e?-cdteo96652/21 Page 16 of 24 PagenileatrPalz021 12:43 pa

Cileri
Marion Superior Court 6 Marion County, Indian:

SUMMONS

STATE OF INDIANA j IN THE MARION COUNTY SUPERIOR COURT
)SS: CIVIL DIVISION, ROOM NO:
COUNTY OF MARION ) CAUSE NO:
ARIANA WARE, )
)
Plaintiff, )
)
VS. )
)
CITY OF INDIANAPOLIS,
INDIANAPOLIS METROPOLITAN
POLICE DEPARTMENT
Defendants,

TO DEFENDANT: City of Indianapolis; Indianapolis Metropolitan Police Department

206 E. Washington Street
City County Building, Suite 1601
Indianapolis, Indiana 46204

You are hereby notified that you have been sued by the person named as plaintiff and in the Court indicated above.

The nature of the suit against you is stated in the complaint which is attached to this Summons. Jt also states the relief
sought or the demand made against you by the plaintiff.

An answer or other appropriate response in writing to the complaint must be filed either by you or your attorney within
twenty (20) days, commencing the day after you receive this Summons (or twenty-three (23) days if this Summons was received
by mail), or a judgment by default may be rendered against you for the relief demanded by plainuff.

If you have a claim for relief against the plaintiff arising from the same transaction or occurrence, you must assert it in
your written answer.

DATED: 07/14/2021

a.

Robert B, Turner

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/ j

 

Clerk, Marion County Superior Court (Seal}

      

(The following manner of service of summons is hereby designated.) ZO UNE

of

ee “
i SEAL

J

NDIANE

Registered or certified mail.

    
      

Service at place of employment, to-wit:

——~,
Semeatet

Service on individual (personal or copy) at above address.

   

ae,
oo

Service on agent. (Specify)

Other service. (Specify)

300 E. Fall Creek Pwy. N. Drive, # 501

Attorney for Plaintiff Indianapolis, IN 46205

(317) 295-2400
Case 1:21-cv-02244-JMS-MG Document 1-2 Filed 08/13/21 Page 17 of 24 PagelD #: 22

SHERIFF'S RETURN ON SERVICE OF SUMMONS

 

 

I hereby certify that I have served this summons on the day of , 20
(1) By delivering a copy of the summons and a copy of the complaint to the defendant,
(2) By leaving a copy of the swnmons and a copy of the complaint at

 

, which is the dwelling place or usual place of abode of

 

, and by mailing a copy of said summons to said

defendant at the above address.

(3) Other Service Remarks:

 

 

 

 

Sheriff's Costs Sheriff
By:

 

Deputy
CLERK'S CERTIFICATE OF MAILING

Thereby certify that on the day of , 20 , [mailed a copy of the summons and a
copy of the complaint to the defendant, , by mail, requesting a return

receipt, at the address furnished by the petitioner.

 

Clerk, Marion County Superior Court

Dated: By:

 

Deputy
RETURN ON SERVICE OF SUMMONS BY MAIL

1 hereby certify that the attached return receipt was received by me showing that the summons and a copy of the
complaint mailed to defendant was accepted by the defendant on the day of

, 20

 

| hereby certify that the attached return receipt was received by me showing that the summons and a copy of the
complaint was returned not accepted on the day of , 20

I hereby certify that the attached return receipt was received by me showing that the summons and a copy of the
complaint mailed to defendant was accepted by

on behalf of said defendant on the day of , 20

 

 

Clerk, Marion County Superior Court

Dated: By:

 

Deputy
Case 1:21-cv-02244-JMS-MG Document 1-2 Filed 08/13/21 Page 18 of 24 PagelD #: 23

Filed: 8/6/2021 8:45 AM
Clerk
Marion County, Indiana

 

STATE GF INDIANA ) IN THE MARION SUPERIOR COURT
)SS:

COUNTY OF MARION ) CAUSE NO, 49D06-2107-CT-023665
ARIANA WARE )
)
)
)
Plaintiff, )
)
¥. )
)
CITY OF INDIANAPOLIS, )
INDIANAPOLIS METROPOLITAN )
POLICE DEPARTMENT )
)
Defendant. )

E-FILING APPEARANCE BY ATTORNEY IN CIVIL CASE
1, The party on whose behalf this form is being filed is: Responding

The undersigned attorneys listed on this form now appear in this case for the following
parties:

CITY OF INDIANAPOLIS
INDIANAPOLIS METROPOLITAN POLICE DEPARTMENT

2. Attorney information for service as required by Trial Rule 5(B)(2):
Name: Allison J. Smith (35366-49)

Address: 200 East Washington Street, Suite 1601
Indianapolis, IN 46204

Phone: 317.327.4055

Fax: 317.327.3968

Email: allison. smith@indy.gov

Name: Elise C. L. Bowling (33933-45)

Address: 200 E. Washington Street, Suite 1601
Indianapolis, IN 46204

Phone: 317.327.4055

Fax: 317.327.3968

Email: elise.bowline2@indy.gov
Case 1:21-cv-02244-JMS-MG Document 1-2 Filed 08/13/21 Page 19 of 24 PagelD #: 24

10.

il.

12.

This is a “CT” case type as defined in Administrative Rule 8(B)(3).
I will not accept service from other parties by FAX or E-mail.
This case does not involve child support issues.

This case does not involve a protection from abuse order, a workplace violence restraining
order, or a no-contact order.

This case does not involve a petition for involuntary commitment.

There are no individuals subject to a petition for involuntary commitment.
The appearing attorneys are not aware of related cases.

There is no additional information required by local rule.

The appearing attorneys are not aware of other party members.

This form has been served on all other parties and Certificate of Service is attached.

Respectfully Submitted,
OFFICE OF CORPORATION COUNSEL

/s/ Allison J. Smith

Allison J. Smith 5366-49)
Assistant Corporation Counsel

200 E. Washington Street, Suite 1601
Indianapolis, IN 46204

317.327.4055
allison.smith@indy.gov

 

 
Case 1:21-cv-02244-JMS-MG Document 1-2 Filed 08/13/21 Page 20 of 24 PagelD #: 25

CERTIFICATE OF SERVICE
I certify that the foregoing was electronically filed on this Thursday, August 5, 2021
through the Indiana E-Filing System, and the following Registered User was served via E-
Service through the Indiana E-Filing System on the same day:

Robert B. Turner

300 East Fall Creek Pwy. N. Dr.
Suite 501 ~

Indianapolis, IN 46205

Ph: 317-295-2400
rbtatty@aol.com

 

 

fs/ Allison. J. Smith
Allison J. Smith (35366-49)
Assistant Corporation Counsel

OFFICE GF CORPORATIGN COUNSEL

200 East Washington Street, Room 1601
Indianapolis, Indiana 46204

Telephone: (317) 327-4055

Fax: (317) 327-3968
Case 1:21-cv-02244-JMS-MG Document 1-2 Filed 08/13/21 Page 21 of 24 PagelD #: 26
Filed: 8/5/2021 8:45 AM
Clerk
Marion County, Indiana

 

 

STATE OF INDIANA ) IN THE MARION SUPERIOR COURT
) SS:

COUNTY OF MARION  } CAUSENO. 49D13-2106-CT-020359
ARIANA WARE )
)
)
)
Plaintiff, )
)
v. )
)
CITY OF INDIANAPOLIS, )
INDIANAPOLIS METROPOLITAN )
POLICE DEPARTMENT )
)
Defendant. )

NOTICE OF AUTOMATIC ENLARGEMENT OF TIME
Defendants, City of Indianapolis and Indianapolis Metropolitan Police Department, by

counsel, hereby gives notice pursuant to LR 49-TR5-203, respectfully requests an Enlargement

of Time in which to respond to Plaintiff Complaint. Defendants received service of Plaintiff

 

Complaint on July 162021. A response is due on August 9/2021. Defendants requests an
additional thirty (30) days, up to and including 9/8/2021. This is Defendants first enlargement of

time.

 

Respectfully Submitted,
OFFICE OF CORPORATION COUNSEL

/s/ Allison J. Smith

Allison J. Smith (35366-49)
Assistant Corporation Counsel

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Case 1:21-cv-02244-JMS-MG Document 1-2 Filed 08/13/21 Page 22 of 24 PagelD #: 27

 

CERTIFICATE OF SERVICE

 

I certify that the foregoing was electronically filed on this Thursday, August 5, 2021
through the Indiana E-Filing System, and the following Registered User was served via E-
Service through the Indiana E-Filing System on the same day:

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Case 1:21-cv-02244-JMS-MG Document 1-2 Filed 08/13/21 Page 23 of 24 PagelD #: 28

 

STATE OF INDIANA ) IN THE MARION SUPERIOR COURT
y SS:
COUNTY OF MARION ) CAUSENO. 49D06-2107-CT-023665
ARIANA WARE )
)
)
)
Plaintiff, ) |
Vv. ) !
)
CITY OF INDIANAPOLIS, )
INDIANAPOLIS METROPOLITAN )
POLICE DEPARTMENT }
)
Defendant. }

 

AMENDED NOTICE OF AUTOMATIC ENLARGEMENT OF TIME
Defendants, City of Indianapolis and Indianapolis Metropolitan Police Department, by
counsel, hereby gives notice pursuant to LR 49-TR5-203, respectfully requests an Enlargement
of Time in which to respond to Plaintiff Complaint. Defendants received service of Plaintiff |

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Respectfully Submitted,

 

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